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6                            UNITED STATES DISTRICT COURT

7                           EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                 No.     2:15-cr-00236-GEB
10                   Plaintiff,
11        v.                                   TENTATIVE RULING SUSTAINING THE
                                               UNITED STATES’ OBJECTION TO THE
12   VANIK MOVSESYAN,                          PRESENTENCE REPORT
13                   Defendant.
14

15              The United States formally objects to the Presentence

16   Report (“PSR”), arguing the probation officer charged with its

17   drafting should have included a two offense level increase in

18   paragraph 25 of the PSR under USSG § 3C1.1 for obstruction of

19   justice   emanating      from        Defendant    Vanik       Movsesyan’s      willful

20   attempt   to    influence      the    testimony    of    a    grand   jury   witness.

21   Gov’t’s Formal Objs. to PSR, ECF No. 212.                    “As applied by section

22   3C1.1,    the    term    ‘willfully’          requires        that    the    defendant

23   ‘consciously     act    with    the    purpose     of    obstructing        justice.’”

24   United States v. Lofton, 905 F.2d 1315, 1316–17 (9th Cir. 1990)

25   (quoting United States v. Stroud, 893 F.2d 504, 507 (2d Cir.

26   1990)).    “Findings of fact related to a defendant’s attempt to

27   obstruct justice must be supported by a preponderance of the

28   evidence, but a sentencing judge may consider hearsay testimony
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1    or   other   evidence        that   would   not    otherwise    be   admissible   at

2    trial.”      United States v. Tidwell, 191 F.3d 976, 982 (9th Cir.

3    1999) (internal citations omitted).                “Only when the hearsay is so

4    inadequately supported that the factual basis for believing it is

5    almost nil can it be argued that the evidence should not have

6    been considered.”            United States v. Fernandez-Vidana, 857 F.2d

7    673, 675 (9th Cir. 1988) (internal quotation marks and citation

8    omitted).

9                 The   government         argues       the   enhancement       applies,

10   notwithstanding        the    conviction     for     which     Defendant   will   be

11   sentenced, contending:

12                An obstruction sentencing adjustment for
                  Movsesyan is not . . . based upon the conduct
13                of his conviction (i.e., conspiring to make
                  false statements during his naturalization
14                proceedings   and   to   impede   the   USCIS
                  investigation), but upon Movsesyan’s separate
15                and subsequent attempt to influence the
                  testimony of a grand jury witness. Once the
16                grand jury began to investigate the false
                  information provided to USCIS, any attempt to
17                influence the testimony of witnesses before
                  the grand jury subjected Movsesyan to an
18                obstruction adjustment. . . .
19                . . . .
20                . . . [E]vidence supports the conclusion that
                  Movsesyan told Grigor to contact Bagdasaryan
21                in an attempt to influence his testimony.
                  Bagdasryan   told   FBI  agents   about   his
22                conversation with Grigor on December 4, 2018,
                  only a day after it occurred. Exhibit 1.
23                Phone   records   corroborate   Bagdasaryan’s
                  statement to the FBI that Grigor called
24                Bagdasaryan on December 3, 2014. See Exhibit
                  4 (phone records showing Grigor’s phone,
25                ending in -4494, calling Bagdasaryan’s phone,
                  ending in -0223 on December 3, 2014). In his
26                plea agreement, Grigor averred that he made
                  the offer to Bagdasaryan at Movsesyan’s
27                behest and that Movsesyan told Grigor to make
                  the offer in order to influence Bagdasryan’s
28                testimony. Exhibit 3 at 2. . . . The Court
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1               may   consider   such  hearsay   evidence   in
                sentencing.   United  States   v.   Fernandez-
2               Vidana, 857 F.2d 673, 675 (9th Cir. 1988).
                . . . The statements of Bagdasaryan and
3               Grigor are consistent and corroborate each
                other, and are also corroborated by phone
4               records. The record evidence supports the
                finding that Movsesyan offered to pay for a
5               new lawyer for Bagdsaryan in order to
                influence Bagdasaryan to falsely tell the
6               grand jury that Movsesyan lived at the
                Sacramento residence. . . .
7
                The probation officer did not apply the
8               adjustment because there was no information
                clearly    demonstrating     that     Movsesyan
9               personally obstructed justice. ECF No. 209-1
                at 2. However, Movsesyan need not personally
10              obstruct justice; he is subject to the
                adjustment even if he acts indirectly through
11              an intermediary. § 2J1.2 App. N. 4(A) (noting
                § 3C1.1 applies, inter alia, to “otherwise
12              unlawfully influencing a . . . witness . .
                . , directly or indirectly, or attempting to
13              do so”); United States v. Jackson, 974 F.2d
                104,   106   (9th   Cir.   1992)    (“Where   a
14              defendant's statements can be reasonably
                construed as a threat, even if they are not
15              made directly to the threatened person, the
                defendant   has   obstructed   justice.”).   By
16              offering to get Bagdasaryan a new attorney in
                an attempt to      influence his     testimony,
17              Movsesyan obstructed justice, regardless of
                [whether] he did so personally or through
18              Grigor.

19   Gov’t’s Formal Objs. to PSR at 3:8–4:26.

20              Defendant did not file a response to the United States’

21   formal   objection.    Defendant    filed    a   document   titled   “Formal

22   Objections to Presentence Report,” ECF No. 211, but it is in

23   substance a sentencing memorandum.          That document does contain a

24   relevant argument; specifically, that Defendant “maintained, and

25   maintains to this day, he never made [an offer to pay for a new

26   attorney for Bagdasaryan’s],” that he “is indigent,” and that

27   “[h]e had no money to offer to [Bagdasaryan].”               Def.’s Formal

28   Objs. to PSR at 1:26–28.
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1                  Although Defendant’s argument that he lacks financial

2    ability to pay for an attorney indicates it would not make sense

3    for Defendant to offer to pay for a new attorney for Bagdasaryan,

4    this argument is not evidence that the offer was not made.                               The

5    government relies on evidence supporting its position that the

6    offer    was     made.         Bagdasaryan       and     Grigor’s       statements       are

7    consistent       with    one    another        and     are    corroborated       by    phone

8    records.        Bagdasaryan         informed    investigating          agents    “[Grigor]

9    told [him] he was aware that [he] still needed to testify and

10   told [him] to say [Defendant] lived with him when he testified.”

11   Bagdasaryan further said “Grigor] told [him] that he needed to

12   get a new attorney and that [Defendant] would pay for it.”                             Memo.

13   of Interview, Exhibit 1 at 3, ECF No. 212-1.                           Grigor states in

14   the factual basis for his plea agreement, which he signed, that

15   he “made these attempts to influence [Bagdasaryan]’s testimony

16   upon    the    request   of    [Defendant],”           and    that   “[Defendant]       told

17   [him]    to    make     this    offer     [of        paying    for     an   attorney]     to

18   [Bagdasaryan] in order to influence [Bagdasaryan]’s testimony.”

19   Factual Basis for Plea, Exhibit 3 at A-2:7–11, ECF No. 212-1.

20                 The United States has shown, by a preponderance of the
21   evidence, that Defendant told Grigor to contact Bagdasaryan for

22   the    express    purpose      of    influencing        his    grand    jury    testimony.

23   That Defendant acted through a third party is no defense, as USSG

24   § 3C1.1 applies to “unlawfully influencing a . . . witness . . .

25   indirectly, or attempting to do so.”                    USSG § 3C1.1 App. N. 4(A);

26   see also Jackson, 974 F.2d at 106.
27                 Therefore,       the     objection         is     sustained.       The     PSR

28   calculates the total offense level to be 14.                         PSR ¶ 30.    The PSR
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1    further determines that Defendant is in criminal history category

2    I, PSR ¶ 39, and the advisory guideline imprisonment range to be

3    15–21 months.    Sustaining the United States’ objection to the PSR

4    and applying USSG § 3C1.1’s two offense level increase changes

5    Defendant’s     total   offense   level   to   16    and   his    guideline

6    imprisonment range to 21-27 months.

7              A copy of this order shall be appended “to any copy of

8    the presentence report made available to the Bureau of Prisons.”

9    Fed. R. Crim. P. 32(i)(3)(C).

10             Dated:    April 26, 2018

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